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HOSPITATS        Kings County                                                                                     457 Cfarkson Ave
                                                                                                               Brookfyn, NY 77203
                                                                                                                B BIdg Roon BG 40




                                               CERTIFICATION



     I, Latoya Holley, Medical Record Specialist of Kings County Hospital Center hereby certiff
     that the attached is in the custody of and is the full and complete record in the condition, act,
     transaction, occurrence of the Institution concerning


                           1,,            s Name & Medical Record Number
                                                                                               U4/r/Gzaf
        /f/f            ,422c4 .U zVlc hs/4t*/",4 lhrza
                                                          Address


                   Entire Record Dated From                   7         t            to    z/r r/t a-
                                                                                               //
                   Emergency Room Record Date (s)                                         to

                   Ambulatory Care Records From                                           to


     I further certiff that this record was made in the regular course of business of this Institution
     and it is in the regular course of business of this Institution to make such record, and such
     record was made at the time of the condition, act, transaction, occurrence or event, or within
     reasonable time thereafter.




     SIGNATURE:

     DATE:                         I


                                   451 Clarkson Avenue. Brooklvn. NY 11203
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                                                                                                     Broofhtn, NY r r,0B




                                         DE LE-GANON CIF AUTFI ORITY


[, Sheldon Mcl-eod, lnterim Chief Executive Officer of Kings County Hospital Center, certifo that Felicia Jones,
Senior Associate Director of l'lealth lnforrnation Management and Latoya Holley, Medical Record Specialist,
whose signatures appear below, are responsible employees of this institution. I hereby authorize them to
certify records of this institution as the full and complete record of the condition, act, transaction, occurrence
or event, which have been made in the regular course of business of this instltution. To make such records at
this tinne of the eondltion, act, transaction, oecurrence or event, is within a neasonab|e tirne thereaften,




                                                                                         Date:
                                                                                                   ?               ).4
                                             Sheldon ilficLeod
                                   Signature of lnterim Chief Execut[ve Officer




                                 ? -d-^O--.-                                            Date:
                                                                                                  3 3              Lo
                                                    relftt' Jones
                                       Signature of Senior Associate Director
                                                           Reeords




                                                                                         Date:
                                                                                                 3      3/ z0
                                                           Holley
                                                   of Authorized     ployee




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NYC                                                                                             457 CLarkson Ave
                                                                                             BrookTyn, NY 17203
             I nings County
HEALTH+
HOSPITAIS                                                                                    B BJdg. Room BG 4A
                                                                                     TeLeDhone: (7L8) 245-4241




                          REDISCLOSURE STATEMENT



        o,This information has been disclosed to you from confidential records
        which are protected by state law. State law prohibits you from making any
        further disclosure of this information without the specific written consent
        of the person to whom it pertains, or as otherwise permitted by law. Any
        unauthorized further disclosure in violation of state law may result in a
        fine or jail sentence of both. A general authorization for the release of
        medical of other information is NOT sufficient authortzation for further
        disclosure.ot




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                                                                    DEF_3809
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                                                                    DEF_4000
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                                                                    DEF_4001
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                                                                    DEF_4002
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                                                                     DEF_4003
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                                                                     DEF_4004
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                                                                     DEF_4005
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                                                                     DEF_4006
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                                                                     DEF_4007
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                                                                     DEF_4008
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                                                                     DEF_4009
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                                                                     DEF_4010
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                                                                     DEF_4011
